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BLISS, WILKENS
& CLAYTON
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IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

THIRD JUDICIAL DISTRICT AT ANCHORAGE

JOEL SCHILLING,

Plaintiff,
vs.

RENT-A~CAR COMPANY OF
ALASKA,

Case No. 3AN~O7-9867 CI

)
)
)
)
)
YU KANG TAI and ENTERPRISE )
)
)
)
Defendants. )

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)

 

NOTICE OF REMOVAL

TO: Clerk of the Superior Court for the State of Alaska,
Third Judicial District at Anchorage

PLEASE TAKB NOTICE THAT on the llth day of October, 2007,
Defendant Enterprise Rent-A-Car Company of Alaska, through
undersigned Counsel, filed in the United States District Court for
the District of Alaska, Anchorage, its Notice of Removal of the
above-referenced action in that Court, pursuant to 28 U.S.C. §§
1332, 1441 and 1446. A true and Correct copy of said notice is
filed herewith.

DATED at Anchorage, Alaska, this llth day of October, 2007.

BLISS, WILKENS & CLAYTGN
Lawyers for Defendant

Enterprise Rent-A~Car Company
Of Alaska

BY: é/L;Y/F~ ;§\WKL\
Jr.

Alfred Claytz%,
ABA NO. 9111 79

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CERTIFICATE OF SERVICE

1 hereby certify that a true and correct
copy of the foregoing document was mailed
this 11th day of October, 2007, to:

Charles W. Coe
805 W. Third Ave., Ste. 100

Anchorage, AK 99501

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Schilling v. Tai, et al.

Notice of Removal
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